               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:13 cr 12-3


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )                  ORDER
                                             )
EVAN THOMAS NORRIS, JR.                      )
______________________________________       )


        THIS MATTER is before the undersigned pursuant to a Motion to

Withdraw (#159) filed by Defendant’s attorney, Eric J. Foster. Mr. Foster filed

this motion due to a written request that he received from the Defendant that Mr.

Foster withdraw as counsel for the Defendant. At the call of this matter on for

hearing and during a closed session of Court, the undersigned questioned the

Defendant concerning the request by Mr. Foster and was advised that the

Defendant did not wish Mr. Foster to withdraw and requested that Mr. Foster

continue to represent him. Mr. Foster consented to do so.               As a result, the

undersigned will enter an order denying the Motion to Withdraw.

                                    ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Withdraw (#159) is

hereby DENIED.                           Signed: July 2, 2014




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